Case 2:17-cv-07083-RGK-MRW Document 376 Filed 10/17/18 Page 1 of 2 Page ID #:19163



  1
                                                DENIED
  2                                    BY ORDER OF THE COURT
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                                              LINK TO 322
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                     IN THE UNITED STATES DISTRICT COURT
 13        FOR THE CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
 14 CARL ZEISS AG and ASML                 Case No. 2:17-cv-07083-RGK (MRWx)
 15 NETHERLANDS B.V.,
                                           [PROPOSED] ORDER GRANTING
 16             Plaintiffs,                PLAINTIFFS’ APPLICATION FOR
 17
      v.                                   LEAVE TO FILE UNDER SEAL

 18 NIKON CORPORATION, SENDAI              (PER L.R. 79-5.2.2(b))
    NIKON CORPORATION, and
 19
    NIKON INC.,                             District Judge: R. Gary Klausner
 20         Defendants.                     Magistrate Judge: Michael R. Wilner
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       [PROPOSED] ORDER GRANTING PLAINTIFFS’ APPLICATION FOR LEAVE
                                                  TO FILE UNDER SEAL
                                      Case No. 2:17-cv-07083-RGK (MRWx)
Case 2:17-cv-07083-RGK-MRW Document 376 Filed 10/17/18 Page 2 of 2 Page ID #:19164



  1         Having considered Plaintiffs’ Application for Leave to File Under Seal, this Court
  2   GRANTS the Application.
  3         IT IS HEREBY ORDERED that the following document be filed under seal:
  4          Portions of parties’ [Proposed] Final Pretrial Conference Order.
  5         THE APPLICATION TO SEAL IS DENIED.
  6         IT IS SO ORDERED.
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  8   Dated: October 17, 2018
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                                      _________________________________________
 10                                   HONORABLE R. GARY KLAUSNER
 11                                   UNITED STATES DISTRICT JUDGE

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        [PROPOSED] ORDER GRANTING PLAINTIFFS’ APPLICATION FOR LEAVE
                                                   TO FILE UNDER SEAL
                                       Case No. 2:17-cv-07083-RGK (MRWx)
